Case 08-13141-BLS Doc 8889-1 Filed 05/11/11 Page 1of4

IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

In re: : Chapter 11
TRIBUNE COMPANY, e¢ al., : Case No. 08-13141 (KJC)
Debtors. : (Jointly Administered)
CERTIFICATE OF SERVICE

I, Mark E. Felger, hereby certify that on the 1 1" day of May 2011, I caused a copy of the
foregoing Joinder to May 11, 2011 Letter Brief Regarding Objections of Certain Current and
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Filed 05/11/11

Page 2 of 4
Case 08-13141-BLS Doc 8889-1

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Filed 05/11/11 Page 3 of 4
Case 08-13141-BLS Doc 8889-1 Filed 05/11/11 Page 4of 4

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Under penalty of perjury, I declare that the foregoing is true and correct.

Dated: May 11, 2011 COZEN GF CONNOR

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Mark foes Oy
